
PER CURIAM.
Affirmed on the authority of Casa Clara Condominium Ass’n v. Charley Toppino and Sons, Inc., 620 So.2d 1244 (Fla.1993); Sandarac Ass’n v. W.R. Frizzell Architects, Inc., 609 So.2d 1349 (Fla. 2d DCA 1992), rev. denied, 626 So.2d 207 (Fla.1993); Spancrete, Inc. v. Ronald E. Frazier &amp; Associates, P.A, 630 So.2d 1197 (Fla. 3d DCA 1994).
STONE and FARMER, JJ., and STREITFELD, JEFFREY, Associates Judge, concur.
